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                 UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

            v.
                                             Case No. 11-cr-64-02/03-SM

Cezar Iulian Butu and Iulian Dolan,
      Defendants

                                    ORDER


      Defendant Iulian Dolan has filed an Assented to Motion to Continue the

final pretrial conference and trial for 90 days, which motion is granted

(document no. 16). Defendant Dolan has filed a Waiver of Speedy Trial. Trial

has been rescheduled for the month of January 2012.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.
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      Final Pretrial Conference is rescheduled for January 6, 2012 at 3:00 p.m.

      Jury selection will take place on January 18, 2012 at 9:30 a.m.



      SO ORDERED.




                                       Steven ___ McAulif __'
                                          Chief Judge

September 29, 2011

cc:   Michael C. Shklar, Esq.
      Jonathan R. Saxe, Esq.
      Arnold H. Huftalen, AUSA
      U.S. Marshal
      U.S. Probation




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